Case 9:09-cv-80409-KAM Document 73 Entered on FLSD Docket 02/18/2010 Page 1 of 8



                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                              Case No.: 09-CV-80409-Marra-Johnson

  ERIC RUTENBERG, on his own behalf and
  others similarly situated,

          Plaintiff,
  v.

  BOYNTON CAROLINA ALE HOUSE, LLC,
  a Florida Limited Liability Company,
  d/b/a CAROLINA ALE HOUSE,
  LM RESTAURANTS, INC., a Foreign Corporation,

          Defendants.
                                                         /

                 DEFENDANT, BOYNTON CAROLINA ALE HOUSE, LLC’S,
               RENEWED MOTION FOR JUDGMENT AS A MATTER OF LAW
                  OR, IN THE ALTERNATIVE, MOTION FOR NEW TRIAL

          Defendant, BOYNTON CAROLINA ALE HOUSE, LLC (“Carolina Ale House”), by and
  through its undersigned counsel and pursuant to Federal Rules of Civil Procedure 50 and 59, moves
  for entry of a judgment as a matter of law or, in the alternative, for a new trial, and in support states:
          1.      On February 11, 2010, following a two-day trial, the jury returned a verdict for
  Plaintiff, ERIC RUTENBERG, on his single claim seeking compensation for unpaid overtime. (D.E.
  67.)
          2.      Pursuant to Rules 50 and 59, the Carolina Ale House moves for judgment as a matter
  of law or, in the alternative, for a new trial because the jury’s verdict was not supported by the
  evidence.
                                      MEMORANDUM OF LAW
                                             A. Introduction
          3.      Under Rule 50(b), judgment as a matter of law for the defendant is due when there
  is insufficient evidence to prove an element of the claim, which means that no reasonable jury could
  have reached a verdict for the plaintiff on that claim. Cleveland v. Home Shopping Network, Inc.,
  369 F.3d 1189, 1192-93 (11th Cir. 2004); see Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)
  (“The moving party is entitled to a judgment as a matter of law [where] the nonmoving party has
Case 9:09-cv-80409-KAM Document 73 Entered on FLSD Docket 02/18/2010 Page 2 of 8



                                                             Rutenberg v. Boynton Carolina Ale House, LLC
                                                                                   Case No.: 09-CV-80409

  failed to make a sufficient showing on an essential element of her case with respect to which she has
  the burden of proof.” (internal quotation marks omitted)); Bogle v. Orange County Bd. of County
  Comm’rs, 162 F.3d 653, 659 (11th Cir. 1998) (“[I]n order to survive a defendant's motion for
  judgment as a matter of law . . . the plaintiff must present evidence that would permit a reasonable
  jury to find in the plaintiff's favor on each and every element of the claim.”).
          4.        Under this standard, “[a] district court should grant judgment as a matter of law when
  the plaintiff presents no legally sufficient evidentiary basis for a reasonable jury to find for him on
  a material element of his cause of action.” Pickett v. Tyson Fresh Meats, Inc., 420 F.3d 1272, 1279
  (11th Cir. 2005) (citation omitted).
          5.        Alternatively, under Rule 59, “a new trial may be granted to all or any of the parties
  and on all or part of the issues . . . in an action in which there has been a trial by jury, for any of the
  reasons for which new trials have heretofore been granted in actions at law in the courts of the
  United States. . . .” The Supreme Court has held that a motion for a new trial may rest, among other
  things, on the fact that “the verdict is against the weight of the evidence.” Montgomery Ward & Co.
  v. Duncan, 311 U.S. 243, 253 (1940).
          6.        Under either analysis, the Carolina Ale House is entitled to relief because there was
  no legally sufficient evidentiary basis for the jury to find that Plaintiff was not employed in a bona
  fide executive capacity.
                           B. Plaintiff’s Flawed “Dumping Ground” Theory
          7.        At trial, Plaintiff argued that the Assistant Kitchen Manager position was not an
  exempt “executive” position because it functioned as a “dumping ground” for wage-earner tasks.
  This theory fails for at least two reasons. First, the undisputed evidence established that the higher-
  level executive, the Kitchen Manager, worked more hours than Plaintiff. Absolutely no evidence
  showed that the Kitchen Manager transferred any specific tasks (menial or otherwise) to the Plaintiff.
  To the contrary, the Plaintiff’s position at trial was that the Kitchen Manager retained too much
  responsibility.
          8.        Second, the undisputed evidence showed that the only criticism the Plaintiff received
  with respect to his duties as the Assistant Kitchen Manager involved his executive-level

                                                      2
Case 9:09-cv-80409-KAM Document 73 Entered on FLSD Docket 02/18/2010 Page 3 of 8



                                                           Rutenberg v. Boynton Carolina Ale House, LLC
                                                                                 Case No.: 09-CV-80409

  responsibilities. In the September 19, 2008, memorandum from Eady to Plaintiff (admitted as
  Defendant’s Exhibit 11), Eady limited his comments to the Plaintiff’s executive-level failures in “not
  stepp[ing] up as a leader” and “not guiding and leading the staff.” No evidence showed that the
  Plaintiff was ever criticized for excessive absences, low hours, low productivity, poor cooking, or
  other factors associated with a “dumping ground” theory. The only evidence related to Plaintiff’s
  performance in a management capacity.
               C. It’s the Capacity of the Position, Not the Activity of the Employee
         9.      All the evidence presented at trial, including the testimony of Robert Skinner, Joe
  Marouf, Ira Eady, the members of the kitchen staff, and the Plaintiff’s own testimony, demonstrated
  that Plaintiff was employed in an executive capacity. In response to this evidence, Plaintiff merely
  argued that he personally failed to engage in some of the activities that the position of Assistant
  Kitchen Manager required. For example, Plaintiff emphasized that the Carolina Ale House only
  produced two written disciplinary forms signed by Plaintiff during his eleven months of
  employment. However, based upon the “capacity” language of the exemption, the relevant inquiry
  is not the number of disciplinary forms Plaintiff signed, but whether his position as Assistant Kitchen
  Manager included the executive capacity to issue such disciplinary forms. Contrary to Plaintiff’s
  legal position at trial, the exemption analysis applies to the authority of the position and not to
  Plaintiff’s particular performance during a limited period. See Vezina v. Jewish Community Center,
  1994 U.S. Dist. LEXIS 19024 (E.D. Mich. Sept. 23, 1994). The evidence at trial (including the
  discipline forms themselves and Plaintiff’s decision to send Darren Best home before the end of Mr.
  Best’s shift) confirmed that the position of Assistant Kitchen Manager granted Plaintiff the
  managerial authority to act. As a result, given the undisputed evidence regarding the authority of the
  Assistant Kitchen Manager position and Plaintiff’s assumption of such authority (at least
  occasionally), Plaintiff’s evidence that he failed to act as consistently as the position allowed does
  not alter the position’s exempt status.
         10.     Moreover, adopting Plaintiff’s individualized focus leads to an absurd application of
  the FLSA. According to the Plaintiff legal interpretation, if the newly-hired kitchen staff were all
  excellent workers who were never disciplined, enjoyed longevity at their positions, and needed little

                                                    3
Case 9:09-cv-80409-KAM Document 73 Entered on FLSD Docket 02/18/2010 Page 4 of 8



                                                          Rutenberg v. Boynton Carolina Ale House, LLC
                                                                                Case No.: 09-CV-80409

  supervision during the first year of operation, the Carolina Ale House would always be in peril of
  failing to establish that Assistant Kitchen Managers (and Kitchen Managers as well) were executive-
  level positions. That is, exceptional staff performance in a single instance would reduce the number
  of hours devoted to supervisory tasks and increase the evidentiary burden on the employer at that
  location despite uniformity in the managerial responsibility of Assistant Kitchen Managers on a
  company-wide basis. The Court should reject the Plaintiff’s effort to change the focus of the FSLA
  from the capacity of the position to an isolated experience.
                                   D. Cooking Like an Executive
         11.     While Plaintiff presented evidence that he devoted substantial time to cooking, it was
  undisputed that his duties as Assistant Kitchen Manager required him to engage in various executive-
  level cooking functions which non-executive employees were not allowed to perform. Joe Marouf
  provided an undisputed account of the need for consistency and control with respect to the
  preparation of customer favorites like salad dressings, sauces, and wing toppings. The testimony
  also confirmed the need to control costs through management-level employees portioning high-end
  products like steaks and fish. Both Plaintiff and Robert Skinner confirmed this specific division of
  labor. As a result, the undisputed evidence showed that these “cooking” functions were purely
  executive responsibilities that non-executives never performed. Even the Plaintiff’s use of the
  pejorative term “glorified cook” emphasizes his own recognition of the undisputed distinction
  developed at trial between a non-executive “cook” and an executive-level “glorified cook” whose
  “glorified” position (i.e., elevated over a mere cook) gave him the capacity to engage in specific
  cooking activities that only those employed as executives -- the Kitchen Manager and the Assistant
  Kitchen Manager -- were authorized to perform.
                          E. Always In Charge of the Cooks Below Him
         12.     Plaintiff, Robert Skinner, Joe Marouf, Ira Eady, and the members of the kitchen staff
  all confirmed that regardless of the “merely-a-cook” argument raised at trial, Plaintiff remained
  ultimately responsible for and in charge of all the cooks and staff on duty with him in the kitchen.
  While on duty, Plaintiff (and no one else) was required to exercise discretion and use management
  authority in addressing problems, sending cooks home, disciplining his subordinates, accepting

                                                   4
Case 9:09-cv-80409-KAM Document 73 Entered on FLSD Docket 02/18/2010 Page 5 of 8



                                                          Rutenberg v. Boynton Carolina Ale House, LLC
                                                                                Case No.: 09-CV-80409

  goods on behalf of the restaurant, confirming the accuracy of purchases, and generally ensuring that
  the kitchen operated in a safe and efficient manner. The federal regulations contemplate that certain
  exempt job categories, like an Assistant Kitchen Manager, will require employees to engage in
  concurrent non-exempt duties. See 29 C.F.R. § 541.106. Contrary to the Plaintiff’s argument to the
  jury, the performance of non-exempt duties does not transform an exempt job category into that of
  a non-executive. Since all the evidence confirmed that Plaintiff remained in charge of the kitchen
  even when he was cooking, there was no evidentiary basis to characterize him as a non-executive.
                                     F. The Compensation Gap
         13.     Even Plaintiff’s comparisons between the compensation of the Assistant Kitchen
  Manager and the kitchen staff established Plaintiff’s executive status. The evidence showed the
  Kitchen Manager (Ira Eady) received a salary of $47,000 and the Assistant Kitchen Manager
  (Plaintiff) received a salary of $40,000. Plaintiff also showed that the very highest hourly wage for
  a cook was approximately $11 per hour, resulting in annualized compensation for a cook of only
  $22,280, assuming the cook worked 52 consecutive 40-hour1 weeks during the year. The Plaintiff’s
  comparison shows that Plaintiff’s compensation was essentially $20,000 more (50% more) than the
  amount paid to the typical non-executive cook but only $7,000 less (15% more) than the executive-
  level Kitchen Manager. Moreover, the evidence confirmed that the Assistant Kitchen Manager was
  paid comparably to the Kitchen Manager because the responsibilities of their respective positions
  were nearly identical. In fact, the Assistant Kitchen Manager needed no additional training or
  qualifications before being elevated to the higher management position
         14.     In addition to substantially higher annual base compensation, the Assistant Kitchen
  Manager position also received management level benefits, including health insurance, bonuses, paid
  vacation, and complimentary alcoholic beverages. The undisputed evidence established no similar
  compensation paid to any of the remaining members of the kitchen staff.



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           Significantly, the evidence showed that the kitchen schedule was designed to avoid
  overtime hours, and Plaintiff’s own testimony confirmed that keeping labor costs low was a
  primary concern.

                                                   5
Case 9:09-cv-80409-KAM Document 73 Entered on FLSD Docket 02/18/2010 Page 6 of 8



                                                             Rutenberg v. Boynton Carolina Ale House, LLC
                                                                                   Case No.: 09-CV-80409

                                              G. Conclusion
          15.     The undisputed evidence at trial conclusively established each of the four elements
  of the executive exemption. The Plaintiff agrees he was compensated on a salary basis of at least
  $455.00 per week. Other than the misguided “glorified cook” argument, all of the evidence
  confirmed that the position of Assistant Kitchen Manager included the primary duty of managing
  the kitchen and directing the kitchen staff, including the prep girl, fry cook, saute cook, grill/flat-top
  cook, and window person. Additionally, all the witnesses, including the Plaintiff and Mr. Skinner,
  confirmed that the position of Assistant Kitchen Manager gave Plaintiff the capacity to provide
  suggestions and recommendations as to the hiring, firing, advancement, promotion, and change of
  status of other employees. Both the Kitchen Manager (Ira Eady) and the Assistant Bar Manager
  (Robert Skinner) confirmed that these were features of the Assistant Kitchen Manger position.
  While Plaintiff claims he did not interview often, it is undisputed that, unlike a cook, Plaintiff
  interviewed a job applicant. The testimony also confirmed that Plaintiff believed the position of
  Assistant Kitchen Manager included the authority to influence personnel decisions. It is undisputed
  that Plaintiff took it upon himself to make comments to Eady and to Skinner about subordinate
  employees. Finally, the evidence confirmed that even if Plaintiff’s personal views were not always
  shared by others in management, Plaintiff’s position as the Assistant Kitchen Manager included the
  authority to make himself heard and to participate in the shaping of personnel decisions. This
  undisputed authority was the subject of the September 18, 2008, memorandum (Defendant’s Exhibit
  11), which encouraged Plaintiff to guide and lead the subordinate workers on his team and confirmed
  Plaintiff’s role as a supervisor of the kitchen staff.
          16.     The Carolina Ale House submits that the undisputed evidence conclusively
  established Plaintiff was employed as a bona fide executive capacity and that any contrary verdict
  is clearly against the weight of the evidence. Accordingly, Carolina Ale House requests judgment
  as a matter of law or, alternatively, entry of an order granting a new trial.
          WHEREFORE, Defendant, CAROLINA ALE HOUSE, LLC, respectfully requests entry
  of a judgment in its favor as a matter of law or, in the alternative, an order granting a new trial.



                                                      6
Case 9:09-cv-80409-KAM Document 73 Entered on FLSD Docket 02/18/2010 Page 7 of 8



                                                           Rutenberg v. Boynton Carolina Ale House, LLC
                                                                                 Case No.: 09-CV-80409

                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on the 18th day of February, 2010, I electronically filed the
  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
  document is being served this day on all counsel of record or pro se parties identified on the attached
  Service List in the manner specified, either via transmission of Notices of Electronic Filing generated
  by CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
  to receive electronically Notices of Electronic Filing.

                                                  /s/ Hudson C. Gill
                                                 JEFFREY L. HOCHMAN
                                                 Florida Bar Number 902098
                                                 HUDSON C. GILL
                                                 Florida Bar Number 15274
                                                 JOHNSON, ANSELMO, MURDOCH,
                                                 BURKE, PIPER & HOCMAN, P.A.
                                                 2455 East Sunrise Blvd., 10th Floor
                                                 Fort Lauderdale, FL 33304
                                                 (954) 463-0100 (telephone)
                                                 (954) 463-2444 (facsimile)
                                                 Attorneys for BOYNTON CAROLINA ALE
                                                 HOUSE, LLC




                                                    7
Case 9:09-cv-80409-KAM Document 73 Entered on FLSD Docket 02/18/2010 Page 8 of 8



                                                    Rutenberg v. Boynton Carolina Ale House, LLC
                                                                          Case No.: 09-CV-80409

                                       SERVICE LIST
                   Eric Rutenberg v. Boynton Carolina Ale House, LLC
                          Case No.: 09-CV-80409-Marra-Johnson
                  United States District Court, Southern District of Florida



  Keith M. Stern, Esquire                         Jeffrey L. Hochman, Esquire
  SHAVITZ LAW GROUP, P.A.                         hochman@jambg.com
  1515 South Federal Highway, Suite 404           Hudson C. Gill, Esquire
  Boca Raton, Florida 33432                       hgill@jambg.com
  Telephone: 561-447-8888                         JOHNSON, ANSELMO, MURDOCH,
  Facsimile: 561-447-8831                          BURKE, PIPER & HOCHMAN
  Attorney for Plaintiff                          2455 East Sunrise Blvd., Suite 1000
                                                  Fort Lauderdale, FL 33304
                                                  Telephone: (954) 463-0100
                                                  (954) 463-2444 (facsimile)
                                                  Attorneys for Defendant

  Beth-Ann E. Krimsky, Esq.
  Christine Nestor, Esq.
  RUDEN, McCLOSKY, SMITH,
  SCHUSTER & RUSSELL, P.A.
  200 E. Broward Blvd., 15th Floor
  P.O. Box 1900
  Fort Lauderdale, FL 33302
  Telephone: 954-527-2427
  Facsimile: 954-333-4027
  Attorneys for Defendant LM Restaurants, Inc.




                                              8
